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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

HELENA DIVISION
MARIA MOELLER and RON
MOELLER,
No. CV-20-22-H-SEH
Plaintiffs,
VS. ORDER

THE ALIERA COMPANIES, INC.;
TRINITY HEALTHSHARE;
TIMOTHY MOSES, SHELLEY
MOSES, CHASE MOSES, and
DOES 1-10,

Defendants.

 

 

On June 3, 2020, Defendant The Aliera Companies, Inc. (“Aliera”) filed a

Motion to Compel Arbitration.' After the motion was fully briefed”, Plaintiffs

moved to strike? what are alleged to be new arguments in Aliera’s reply brief.’

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' Doce. 14.
? Docs. 32 and 36.
3 See Doc. 42.

4 See Doc. 36.
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ORDERED:
1. Plaintiff's Motion to Strike New Arguments Raised in Aliera’s Reply

Brief’ is DENIED.
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DATED this_/8 Gay of September, 2020.

dew tM edelorr,

“SAM E. HADDON
United States District Judge

 

> Doc. 42.
